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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ASHTON WILKINS,
        Plaintiff,
        v.                                             Civil Action No. 17-884 (CKK)
 DISTRICT OF COLUMBIA, et al.,
             Defendants.

                                            ORDER
                                      (September 30, 2020)

       For the reasons set forth in the accompanying Memorandum Opinion, the Court DENIES

Plaintiff’s [49] Motion to Strike. The Court GRANTS Defendants’ [21] Motion for Summary

Judgment, as to Plaintiff’s claims for False Arrest (Counts III, IV, and VII), Malicious Prosecution

(Count V), Excessive Force (Count VI), Fabrication of Evidence (Count VIII), and Retaliatory

Arrest (Count IX). The Court, however, refrains from exercising supplemental jurisdiction over

Plaintiff’s claims of common law assault (Counts I and II) and DISMISSES those claims

WITHOUT PREJUDICE. The above action is, therefore, DISMISSED in its entirety.

       This is a final and appealable order.

Dated: September 30, 2020

                                                            /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
